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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JOSEPH CALDWELL,

               Plaintiff,

vs.                                                         Case No. 1:20-cv-00003-JB-JFR

UNIVERSITY OF NEW MEXICO BOARD OF REGENTS,
NASHA TORREZ,
EDDIE NUNEZ,
LOBO DEVELOPMENT CORPORATION, and
ACC OP (UNM SOUTH) LLC,

               Defendants.

           PLAINTIFF’S RULE 41(a)(1)(A)(ii) STIPULATION OF DISMISSAL
                  AS TO LOBO DEVELOPMENT CORPORATION

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Joseph Caldwell

hereby voluntarily stipulates to the dismissal of his claims, without prejudice, against Lobo

Development Corporation, with Plaintiff and Lobo Development Corporation to each bear their

own fees and costs. This stipulation is signed by all parties who have appeared.

                                     Respectfully submitted,

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I HEREBY CERTIFY that on the 31st day of January, 2020, I filed the foregoing electronically
through the CM/ECF system, which caused all parties or counsel of record to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing.


JUSTINE FOX-YOUNG, P.C.

By: /s/
   JUSTINE FOX-YOUNG




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